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   1                                                             DENIED
   2                                                    BY ORDER OF THE COURT
   3
                                UNITED STATES DISTRICT COURT
   4                           CENTRAL DISTRICT OF CALIFORNIA
   5
        MEGAN SCHMITT, DEANA                        Case No. 8:17-cv-01397-JVS-JDE
   6    REILLY, CAROL ORLOWSKY, and
        STEPHANIE MILLER BRUN,                      [PROPOSED] ORDER GRANTING
   7    individually and on behalf of               PLAINTIFFS’ AMENDED EX PARTE
        themselves and all others similarly         APPLICATION TO STAY THE CASE
   8    situated,                                   AND MOTION FOR DISCOVERY
                                                    SANCTIONS
   9                   Plaintiffs,
  10            v.
                                                    Complaint Filed: 8/17/17
  11    YOUNIQUE, LLC,                              Trial Date: 2/19/19
  12                   Defendant.
  13

  14
                The Court, having considered Plaintiff’s Amended Ex Parte Application to
  15
       Stay the Case and Motion for Discovery Sanctions, hereby issues the following
  16
       order:
  17
       IT IS HEREBY ORDERED:
  18
                The case is hereby stayed. Defendant will produce appropriate witnesses to
  19
       testify to the topics in Plaintiffs’ June 4, 2018 Notice of Deposition within seven
  20
       days of this Order at a date and time of Plaintiffs’ choosing. Plaintiffs’ motion for
  21
       Rule 37 sanctions is hereby granted.
  22

  23
       Dated __August 14, 2018                              DENIED
  24
                                                  BY ORDER OF THE COURT
                                               ___________________________________
  25                                           HON JAMES V. SELNA
                                               UNITED STATES DISTRICT JUDGE
  26

  27

  28                                              -1-
       PROPOSED ORDER GRANTING PLAINTIFFS’ AMENDED EX PARTE APPLICATION TO STAY THE CASE
                            AND MOTION FOR DISCOVERY SANCTIONS
